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                 UNITED STATES DISTRICT COIJ"
                 SOUTHERN DISTRICT OF GEORGI

                       STATESBORO DIVISION


KIZVWANDA HOPKINS,

       Movant,

V.                                       Case No. CV614-025
                                                   CR612-Oil
UNITED STATES OF AMERICA,

       Respondent.

                                ORDER
       After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this       / ,day of                     ) 2014.



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                                   UNITED STATES DISTRJUDGE
                                   SOUTHERN DISTRICTGEORGIA
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